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                      UNITED STATES DISTRICT COURT .
                      UNITEDSTATESDIliTCO~T                                4
                     SOUTHERN
                     SOUTHERN DISTRICT
                               DISTRICT OF
                                        OF NEW
                                           NEW YORK
                                               YORK

 SARAH
 SARAH R.
       R. YOUNG,
          YOUNG,
                                         Plaintiff,
                                         Plaintiff,        Case
                                                           CaseNNo. 14 CV

             -against-
              -against-                                    COMPLAINT
                                                                              .S.D.C. S.D. N.Y.
                                                                                CASHIERS
 INTELLICELL
  INTELLICELL BIO     BIO SCIENCE
                            SCIENCE INC.,INC., STEVEN
                                                  STEVEN
  VICTOR, MD, in his capacity as Chairmen -- JURY
 VICTOR,      MD,    in   his   capacity  as   Chairmen        JURY TRIAL
                                                                     TRIAL
 CEO,
  CEO, and  and individually,    ANNA RHODES
                  individually,ANNA        RHODES as          DEMANDED
                                                          as DEMANDED
 former
  former Executive
           Executive Vice
                        VicePresident
                              President and     individually, Pursuant
                                          and individually,    Pursuant to
                                                                        to Fed.
                                                                           Fed. R.
                                                                                R. Civ.
                                                                                   Civ. P.
                                                                                        P. 38(b)
                                                                                           38(b)
 LEONARD
  LEONARD L.       L. MAZUR
                        MAZUR as      as interim
                                            interim Chief
                                                       Chief
 Operating    Officer   and   individually,
  Operating Officer and individually, THE CITY THE   CITY
 OF
  OF NEW  NEW YORK,  YORK, NYPD     NYPD         POLICE
                                                  POLICE
 COMMISSIONER
  COMMISSIONER RAYMOND KELLY in
                           RAYMOND            KELLY        in
 his  official  capacity,  and    individually,
  his official capacity, and individually, NYPD     NYPD
 DETECTIVE
  DETECTIVE RYAN     RYAN CURLEY
                               CURLEY in    in his
                                                his official
                                                    official
 capacity,
  capacity, and individually, Detective JOHN
              and   individually,     Detective      JOHN
 DOE,
  DOE, in in his
             his official
                  official capacity,
                            capacity, and
                                        and individually,
                                              individually,
 New
  New York
         York County
                 County District
                           District Attorney
                                      Attorney CYRUS
                                                   CYRUS
 VANCE,
  VANCE, JR.,  JR., inin his
                          his official
                                 official capacity,
                                           capacity, and and
 individually,
  individually, New New York York County
                                      County Assistant
                                                  Assistant
 District
  District Attorney
            Attorney ALLISON
                       ALLISON ALTMANN,
                                     ALTMANN, in      in her
                                                         her
 official
  official capacity,
           capacity, and
                       and individually,
                            individually,
                                         Defendants.
                                         Defendants.


      Plaintiff
      Plaintiff Sarah
                Sarah R.
                      R. Young,
                         Young, by
                                by her
                                   her attorneys,
                                       attorneys, the
                                                  the Law
                                                      Law Office
                                                          Office of
                                                                 of Douglas
                                                                    Douglas R.
                                                                            R.

Dollinger,
Dollinger, P.C.
           P.C. &
                & Associates
                  Associates complaining
                             complaining of
                                         of the
                                            the Defendants
                                                Defendants hereby
                                                           hereby brings
                                                                  brings this
                                                                         this

action
action alleging
       alleging as
                as follows:
                    follows:

                          PRELIMINARY
                          PRELIMINARY STATEMENT
                                      STATEMENT

      1.1.    This
              This actions
                   actions seeks
                            seeks relief
                                  relief for
                                          for among
                                              among other
                                                    other things
                                                          things civil
                                                                 civil rights
                                                                       rights violations
                                                                              violations

directed
directed at
         at plaintiff,
            plaintiff, Sarah
                       Sarah R.
                             R. Young
                                Young by
                                      by the
                                         the defendants
                                             defendants for
                                                        for their
                                                            their violations
                                                                  violations of
                                                                             of her
                                                                                her
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rights as secured by the Civil Rights Act of 1871, 42 U.S.C. § 1983, by the United

States Constitution, including its First, Fourth, and Fourteenth Amendments, and

by the laws and Constitution of the State of New York, her statutory and common

law rights as and for wrongful conduct for claims commencing September 2011

and  continuing  to  October  7,  2013  [the  “Relevant  Period”].

       2.     Plaintiff seeks compensatory damages against all of the Defendants

and punitive damages against all individual defendants, an award of costs, interest

and attorney's fees, and such other and further relief as this Court deems just and

proper.

                             JURISDICTION AND VENUE

       3.     Jurisdiction is conferred upon this Court by reason of a federal

question pursuant to 28 U.S.C. §§ 1331 and 1343, this being an action seeking

redress for the violation of the Plaintiffs' constitutional and civil rights.

       4.     In the alternative jurisdiction exists pursuant to 28 U.S.C. §§ 1332

in the complete diversity of citizenship among the parties with the amount in

controversy exceeding the sum of $75,000.00.

       5.      Plaintiff further invokes this Court's supplemental jurisdiction,

pursuant to 28 U.S.C. § 1367, over any and all state law claims and as against

all parties that are so related to claims in this action and within the original

jurisdiction of this court that they form part of the same case or controversy.
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      6.      Venue in this District is proper under 28 U.S.C. § 1391(b) and (c)

in that Defendants businesses are located within the Southern District of New

York, and the events giving rise to this claim occurred within the boundaries of

the Southern District of New York.

                                    PARTIES
Plaintiff:

      7.     At all times relevant to this action, Plaintiff Sarah R. Young

(“Young”) is a resident of the County of Alachua, State of Florida.

Defendants:


      8.     At all times relevant herein, defendant, IntelliCell Bio Sciences

(“Intellicell”)   was and is a Nevada corporation engaged in medical research

maintaining its principle place of business in the State of New York, having its

executive offices located at 460 Park Avenue, New York, New York.

      9.      Upon information and belief, defendant Steven Victor MD,

(“Victor”) is domiciled and residing in the State of New York, and a doctor of

medicine duly licensed to practice medicine or otherwise conduct medical research

in the State of New York.

      10.     At all times relevant herein, defendant Victor was and is the

Chairman of the board of directors and CEO of the IntelliCell, is domiciled and a

resident of the State of New York and is being sued herein in both his official

capacity and as an individual.
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      11.    At all times relevant herein, defendant, Anna Rhodes (“Rhodes”) was

the former Executive Vice President of Operations of IntelliCell, is domiciled and

a resident of the State of New York and is being sued herein both his official

capacity and as an individual.

      12.    Upon information and belief, defendant Leonard   L.   Mazur   (“Mazur”)  

was and is the interim Chief Operating Officer of IntelliCell and is domiciled and a

resident of the State of New York and is being sued herein both his official

capacity and as an individual.

      13.    The true name of Defendants John Doe (“Doe”)   and Jane Roe

(“Roe”)  are unknown to plaintiffs at this time. Plaintiffs sue these defendants by

their fictitious names and will upon determining their true identity seek leave to

amend this complaint under their true names.

      14.    Plaintiffs are informed and believe, and based on that information

and belief allege, that the Defendants Doe and Roe are legally responsible, for the

events and happenings referred to in this complaint, and have unlawfully caused

the injuries and damages to plaintiffs alleged hereafter.

      15.    Plaintiffs are informed and believe, and based on that information

and belief allege that at all times mentioned in this complaint, Defendants Doe

and Roe were the agents and employees and/or principles in doing the things

alleged in this complaint and were acting within the course and scope of such
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agency-employment or were acting in their individual capacity and are jointly and

severally liable for the damages caused to Plaintiffs.

      16.    Defendant   City   of   New   York   (“City”   and   from   time-to-time The

“Municipal”   Defendant)   is   and was at all times relevant herein a municipal entity

created, existing and authorized under the laws of the State of New York.

      17.    The City, maintains the New York City Police Department, a

municipal agency created and authorized under the laws of the State of New York

and charged with the duty to investigate arrest and assist in the prosecution of

criminal conduct within the County and City of New York.

      18.    Public employee Defendants NYPD Detectives Ryan Curley

(“Curley”)   and   Detective   Doe   are and were at all times relevant herein duly

appointed and acting officers, servants, employees and agents of the New York City

Police Department, a municipal agency of Defendant City of New York.

      19.    At all times hereinafter mentioned defendant Raymond Kelly was the

duly appointed Police Commission for the City of New York in charge of hiring

and supervision over the detectives and police officers assigned to the New York

Police Department and as such, was responsible for the policies, practices and

customs adopted by those units-divisions-precincts as well as well as the training,
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retention, supervision, discipline, counseling and control of the detectives-police

officers who worked under his command and in those units.

       20.      At all times hereinafter mentioned, herein the public employee

Defendants   NYPD   Detectives   Ryan   Curley   (“Curley”)   and   Detective   John   Doe  

(“Doe”)  were assigned to the theft and robbery unit under the supervisor of Kelly

and as such, were required to be trained in the policies, practices and customs of

the unit, as well as, supervised, disciplined, counseled and controlled in the

performance of the work assigned to that unit.

       21.     The   City,   maintains   the   New   York   City   District   Attorney’s   Office   a  

municipal agency created and authorized under the laws of the State of New York

and charged with the duty to investigate and the prosecution of criminal conduct

within the County and City of New York.

       22.     At all times hereinafter mentioned defendant Cyrus Vance, Jr. was the

duly elected New York County District Attorney in charge of the hiring and

supervision   of   the   staff   assigned   to   New   York   County   District   Attorney’s   Office  

and as such, was responsible for the policies, practices and customs of the units-

divisions therein as well as well as the training, retention, supervision, discipline,

counseling and control of the assistant district attorneys who worked under his

command and in those units.
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      23.     At all times hereinafter mentioned, defendant Allison Altmann

(“Altmann”),   was   an   employee   and   agent   of   the New York County District

Attorney’s   Office,   acting   as   an Assistant District Attorney working under

Defendant Cyrus Vance, Jr.

      24.    At all times hereinafter mentioned, defendant Altmann was assigned

to the theft and robbery unit under the supervisor of Cyrus Vance, Jr. and as such,

was required to be trained in the policies, practices and customs of the unit, as well

as, supervised, disciplined, counseled and controlled in the performance of the

work assigned to her unit.

      25.    The City Defendant assumes the risks incidental to the maintenance of

a police force, the employment of detectives-police officers; the district   attorney’s  

office and the employment of assistant district attorneys.

      26.    At all times hereinafter mentioned the Municipal defendants, either

personally or through their employees, were acting under color of state law and/or

in compliance with the official rules, regulations, laws, statutes, customs, usages

and/or practices of the State or City of New York.

      27.    Each and all of the acts of the Municipal defendants alleged herein

were done by said defendants while acting within the scope of their employment

by defendant City of New York.
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        28.   Each and all of the acts of the Municipal defendants alleged herein

were done by said defendants while acting in furtherance of their employment by

defendant City of New York.

        29.   By the conduct, acts, and omissions complained of herein, the

collective Defendants violated clearly established constitutional standards under

the First, Fourth, and Fourteenth Amendments to the United States Constitution of

which a reasonable persons and/or a police officers under the circumstances would

have known.

                               NOTICE OF CLAIM

        30.   Plaintiff timely filed a Notice of Claim with the Comptroller of the

City, setting forth the facts underlying Plaintiff's claim against Defendants and the

City.

        31.   The City assigned a claim number to Plaintiff's claim, and Plaintiff

was subjected to an examination pursuant to N.Y. Gen. Mun. L. Sec. 50-h on Mach

12, 2014. The matter was adjourned without a date for rescheduling.

        32.   More than 30 days has elapsed since the adjournment and the City has

neglected or otherwise refused to settled or adjust the claim.

        33.   To date, no answer has been received by Plaintiff and no compensation

has been offered by Defendant City of New York in response to this claim.
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        34.   This action has been commenced within one year and ninety days of

the date of occurrence of the events giving rise to this Complaint.

                             STATEMENT OF FACTS

    Civilian Defendants Willful And Intentional Failure To Pay  Plaintiff’s  
     Agreed To Wages, False Tax Withholdings And Other False Filings

        35.   At all times during the Relevant Period IntelliCell was a public

Corporation  trading  under  the  ticker  symbol  “SVFC”.

        36.   At all times during the Relevant Period IntelliCell was operated and

controlled by its board of directors wherein a majority of the Board existed in

defendants Victor,  Rhodes  and  Mazur  collectively  hereafter  the  “Board”.  

        37.   IntelliCell’s primary business was/is focused on the expanding

regenerative medical markets and licensing-using its patented adipose stromal

vascular fraction stem cell rejuvenation process (from time-to-time   “SCRP”   as  

filed with the United  States  Patent  and  Trade  Office  (“USPTO”).

        38.   At all times during the Relevant Period, IntelliCell was inspected and

subject to FDA oversight of its facilities and medical procedures.

        39.   At all times during the Relevant Period IntelliCell was seeking a Lab

Director and Quality Assurance Officer for its Manhattan  “facilities”  located  at  460  
                  th
Park Avenue, 17        Floor New York, New York, City of New York, State of New

York.
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      40.     At all times during the Relevant Period the Plaintiff was a resident

and domiciled in the State of Florida.

      41.     At all times during the Relevant Period IntelliCell offered Plaintiff

the position as a Lab Director and Quality Assurance Officer overseeing the SCRP

laboratory quality development if she would relocated to New York City agreeing

to pay Plaintiff an annual salary of $110,000.00.

      42.     At all times during the Relevant Period based on the promise

payment of a salary of $110,000.00 offered by IntelliCell to Plaintiff, Plaintiff

relocated to New York City wherein IntelliCell hired or otherwise employed

Plaintiff as a Lab Director and Quality Assurance Officer at their Manhattan

facilities overseeing the SCRP laboratory quality assurances.

      43.     At all times during the Relevant Period, IntelliCell failed to meet or

otherwise comply with FDA protocols and was advised of its violations in writing.

      44.    During the Relevant Period Plaintiff became aware of the flaws

deficiencies, inaccuracies, errors and intentional manipulations of data and/or

testing equipment in the developmental protocols engaged in by Defendant Victor

and his manipulations of data so as to appear FDA compliant and reported time to

time Victor’s  fraud and data tampering to the Board including:

      a.     During the Relevant Period, Victor instructed employees to
      fabricate and back-record temperatures and humidity data from the
      months of January, February and March of 2013 when data was lost
      on the Dickson Temperature Logger.
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  b. During the Relevant Period, at the direction of Victor Data
  identifiers for cell samples were altered in the Millipore laptop months
  after entry testing and later saved under different file names to be used
  as fake data sets.

  c. During the Relevant Period, at the direction of Victor Data was
  also fabricated for the use in U.S. Patent Application Serial No.
  13/323,030 entitled "Ultrasonic Cavitation of Adipose Tissue to
  Produce Stromal Vascular Fraction Regenerative Cells."

  d. During the Relevant Period, at the direction of Victor if the cell
  preparation did not pass QA standards of 80% viability and a
  minimum of qualifying cell counts of 50 million cells, Victor in
  excess of 10 times manipulated the parameters of the Millipore
  machine until he got the desired test results.

  e. During the Relevant Period, Victor and the Board knew and was
  aware that cells were dead and that that the harvest was less than 3%
  and most often not at all but intentionally failed to disclose the
  information as required altering log and data to conceal the true
  results.

  f. During the Relevant Period, Victor and the Board knew and was
  aware as advised by multiple licensees that the cells tested were
  not alive, but dead extracellular matrix and that the lasers on the
  Millipore machine was in fact counting small lipid droplets and not
  live cells.

  g. During the Relevant Period, at the direction Victor testing
  cartridges t h a t were not obtained to test for levels of bacterial
  activity wherein false recording was made documenting that the cells
  were tested and passed, when in fact they were not verified.
  h. During the Relevant Period, Victor advised patients that he could
  cure them of any disease in violation of medical and laboratory
  protocols established by the FDA.

  i. During the Relevant Period, the Board knew and was aware that
  the medical freezer remained full of adipose tissue that i t was
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  used for practice testing which was unlabeled in 60cc syringes
  without patients identifying makers for comparison and cross-check.

  j. During the Relevant Period, the Board knew and was aware that
  the probe for the ultrasonic cavitator corrodes used during the
  procedures to releases particles of titanium into the IV cell product was
  unverified for toxicology/heavy metal studies alter the data and results.

  k. During the Relevant Period, the Board knew and was aware that
  Bio-hazardous waste was being thrown out in the regular trash because
  Victor would not pay for Stericycle to pick- up during the period from
  August 2012 to March 2013.

  l. During the Relevant Period, the Board knew and was aware that
  Consents were not performed verbally nor documented SVF cases for
  NY13D002 so as to cover this mistake consents were back dated a week
  later and emailed to the patients to sign and return to the office.
  m. During the Relevant Period, Victor and the Board knew and was
  aware and used the R&D only Millipore labeling “Not for human use”
  but were used on human subjects.

  n. During the Relevant Period, Victor and the Board knew and was
  aware that the autoclave failed the weekly Biological Indicator runs and
  was failing runs by not getting up to a high enough temperature. The
  temperature gauge did not work correctly to 20 degrees accuracy but
  was not repaired wherein data and testing although used was not accurate.

  o. During the Relevant Period, Victor and the Board knew and was
  aware that sonicated cells returned to the patient after processing were
  in fact in apoptosis or were dead and dying cell population, not live,
  viable cells as is claimed were used in the procedure.

  p. During the Relevant Period, Victor and the Board knew and
  were aware of the foregoing, as noticed by email dated April 7,
  2013 from Robert Sexaur giving a report received from Rutgers:
  The initial reports from Rutgers University and Professor Kohn and
  Dr. Mao, an industry qualified cell biologist, is that the IntelliCell
  cell population is primarily a dead cell population.
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      q. During the Relevant Period, Victor and the Board knew and
      was aware and intentionally made false claims that the process was
      culturing and successfully growing stem cells in the lab.

      r. During the Relevant Period, Victor and the Board knew and were
      aware that Cells were sent to University of Miami, the University of
      Florida, to Rutgers University and in each instance they did not grow.


      s. During the Relevant Period, Victor and the Board knew and
      were aware that Victor was conducting unregistered clinical trials.
      Using SVF and Platelet Rich Plasma (PRP) eye serum using the
      patient’s  own  growth  factors  from  their  own  blood.

      t. During the Relevant Period, Victor with  the  Board’s  knowledge  
      purchased equipment and supplies without having intention or the
      means to pay for them but received money from licensees.

      u. During the Relevant Period, Victor with  the  Board’s  knowledge  
      wrote prescriptions to investor without a clinical need as and for an
      “INVESTMENT  INCENTIVE”.


      45.    During the Relevant Period, the Board knew and was aware of the

foregoing fraudulent conduct of Victor and reported his activities and the defects in

the conduct to the Board where in response thereto the Board took no action other

than to say they would investigate her claims.

      46.    At all times during the Relevant Period,        Plaintiff continued to

complain to the Board advising Defendant Mazer that if the he did not take

immediate action she was going to report the tampering to the authorities-FDA.

      47.    During the Relevant Period so as to attempt to control humiliate and

cause fear in the Plaintiff and otherwise stop her from reporting her findings of
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wrongdoing and stop her from making written reports, advising the Board or the

authorities of her findings on no less than 7 occasions Victor verbally threatened

and otherwise physically abused Plaintiff wherein Victor told Plaintiff he was

going   to   “string   her   up   and   gut   her   like   a   deer; Defendant Victor would grab

Plaintiff by the back of her neck or her wrist squeezing both her wrist and neck

causing Plaintiff to experience immediate bruising and pain.
       48.     At all times during the Relevant Period Plaintiff was a salaried employee,

executed a W-4 and was a participant in a contributing 401 K plan-fund where the

Company and Board members in their fiduciary capacities were required to accurately

report wages and withholdings making payments as fiduciaries into state and federal tax

treasuries or local governments for unemployment insurance and to the 401K fund

account.

       49.     Plaintiff is informed and believes, that at all times during the

Relevant Period, at the direction of Victor, the Board at times intentionally

misidentified wages-benefits-contributions falsely filing wage reports wherein the

Company issued Plaintiff employee payroll checks while it withheld the full

portions of the wages earned or contributions to the 401k and taxes but

intentionally under reported, failed to report or otherwise failed to deposit the

actual withholdings or pay said withholdings into the treasury accounts as required

keeping the money for the operations of IntelliCell or directly for their own
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personal use including, upon information and belief, lavish dinner outings, affairs

and other non-corporate matters.

      50.      At all times during the Relevant  Period  IntelliCell’s  Board  knew  and  

was aware that IntelliCell was under funded or otherwise without sufficient capital

on hand to make its regular payroll payments to Plaintiff and was late with payroll

on multiple occasions.

      51.      At all times during the Relevant Period as of March 2013, the

Company owed wages and/or Company benefits to Sarah R. Young in excess of

$30,000.00.

      52.      At all times during the Relevant Period as of March 2013, the

Company did not have funds available to pay employees wages and owed in

excess of     Three Hundred Thousand ($300.000.00) Dollars to its employees

including     wages and/or Company benefits to Sarah R. Young in excess of

$30,000.00.

      53.     That on or about March 2013, IntelliCell intentionally failed to notify

Plaintiff in advance that they were unable or otherwise unwilling to make payroll

and wage payments to her.

      54.     At all times during the Relevant Period, Plaintiff complained to the

Board advising Defendant Mazer she was going to report the wages withholding to

the authorities-and demanded all past due wages.
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      55.     At all times during the Relevant Period so as to silence Plaintiff in her

complaints Victor and the Board improperly caused-forced the termination of

Plaintiff from her position as Director of Quality Assurance and was unable or

otherwise refusing to pay her past due wages.

      56.     At all times during the Relevant Period although due demand had

been made and received by the Company the Company has neglected or refused to

make payment of wages owed.



               The Intentional/Willful False Arrest of Sarah R. Young
                For  Whistle  Blowing  and  the  Board’s  Failure  to  Act

      57.     At all times during the Relevant Period in her position as Quality

Control Officer Plaintiff was required to and did maintain control copies of

information/testing result including data, reports, lab testing and other information

(Control Data) related to the accuracy and verification of her work product as the

Company’s   Quality Assurance Officer wherein Plaintiff maintained an electronic

log and/or docket of the foregoing.

      58.     At all times during the Relevant Period the Board knew and were

aware Plaintiff maintained a control copy of the foregoing data in an electronic

log-format.

      59.     That in or about April 2013, after her termination Defendants were fearful

Plaintiff would use the Control Data to support her claims of wrongdoing and
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demanded Plaintiff to produce all copies of her Control Data falsely claiming Plaintiff

was without lawful authority to maintain a copy of the foregoing information refusing

to make payment to her unless she surrendered her copies of the Control data.

       60.     During the Relevant Period in response thereto Plaintiff refused to

provide her copy of the Control data-findings as and for her proof of the

wrongdoing and verification of the retaliatory conduct of Victor further demanding

her past wages in the sum of $30,000.


       61.     At all times during the Relevant Period, Victor and the Board

knew and was aware that Plaintiff was a victim of an assault and was suffering

from diagnosed Post   Traumatic   Stress   Disorder   (“PTSD”) wherein in

retaliation of her refusal to return her copy of the control data her demands for

payment of past due wages and so as prevent her from whistle blowing

Defendant Victor with the knowledge of the Board intending to cause

emotional distress and otherwise with actual malice did act to cause the filing

of a criminal complaint though   the   Manhattan   District   Attorney’s Office

maliciously seeking the arrest and confinement of Plaintiff.

       62.     During the Relevant Period, Victor and the Board knew and acted with

malice under circumstances where they aware that the true purpose of the criminal

complaint was to intimidate and create fear, emotional distress and otherwise gain an

advantage in her claim for wages and credibility and so as to use the arrest to prevent

Plaintiffs  from  disclosing  the  fraud  in  the  viability  of  IntelliCell’s -Victor’s  SCRP.
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       63.    That on or about June 14, 2013, Victor  or  an  individual  at  Victor’s  

request met with New York City District Attorney Allison Altmann falsely

advising ADA Altman that Plaintiffs was illegally in possession of confidential

information “worth   billions   of   dollar”   falsely   claiming   to   ADA   Altmann   that  

Plaintiff was using said Control data to extort money from IntelliCell-Victor

by threatening to disclosing said information to the public unless IntelliCell

paid her $30,000.00; and failing to tell ADA Altmann of the true

circumstances of her possession of the Control data and her rights thereto.

       64.    That at times material hereto, during the Relevant Period

Plaintiff’s  possession  of  said  information  was  lawful  and  otherwise  not  subject  

to the laws of criminal possession where her right to present said in

information to the regulatory authorizes and a right of free speech protected by

federal and state constitutions; Plaintiffs claim for payment was a lawful

demand as she was owed said money as and for past unpaid wages.

       65.    That at times material hereto, during the relevant period without

conducting an investigation or conducting researching into the law on

Plaintiff’s  right  to  possess said control data ADA Altman directed New York

City Detective-Police Officer DOE and/or Detective Curly to prepare a

complaint and arrest Plaintiff on the allegation of Victor as presented by his

designee.
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       66.    That at all times during the relevant period Plaintiff informed Detective

Curley of the false statements, ill will, spite and malicious motive of silencing her from

being a whistle blower in the false filing-claims of his patent with certain regulatory

authorities, including but not limited to the United States Food and Drug Administration.

       67.    That prior to her arrest Plaintiff also provided Detective Ryan with

proof that the arrest was retaliatory for her demanding payment for her past and

overdue wages; the claims of the Victor were false and were willfully, maliciously

presented with malice and aforethought and that it was agreed and conspired to

among Victor and the Board to file a false criminal complaint with the New York

City  District  Attorney’s  Office  against  the  Plaintiff so as to obtain a civil advantage

in her claims against them and otherwise undermine her credibility.

       68.    That despite the information concerning the illegal activity of the

Defendants Victor and the Board, without conducting an investigation into the

claims-allegations of wrongdoing          presented by Plaintiff, with a          deliberate

indifference to the proof presented Plaintiff was arrested by New York City

Detective Curley in his capacity as police officers while acting under the color of

law without a duly filed or issued warrant or without a crime having been

committed in his presence and did cause the unpermitted physical confinement of

Plaintiff unlawfully denying her of her liberty of free movement where said

Plaintiff was aware of her confinement and unable to exercise her right of liberty.
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      69.    That at times material hereto, during the relevant period on or about June

15, 2013 Plaintiff was arraigned on the complaint of Detective Curley and bail was set

in the amount of $100,000.00, Plaintiff was confined to the jails and penal institutions

of the City of New York until her release on posting bond on or about June 19, 2013.

      70.    Thereafter, at times material hereto, during the relevant period and

continuing until dismissal of the false charges filed against her on or about October 8,

2013, Plaintiff was subject to multiple court appearances and the continuing/malicious

prosecution at the insistence of Victor and by the Municipal Defendants.

      71.    That a result of the false arrest and illegal imprisonment the plaintiff, as

planned by Defendant Victor, Plaintiff suffered the symptoms of PTSD, Plaintiff’s  

health was impaired, plaintiff suffered great mental distress, her reputation and

character were injured, her earning power has been permanently impaired large sums

of money were expended by plaintiff in her defense of the false criminal claims.

                               CAUSES OF ACTION

                             COUNT I.
  Deprivation of Free Speech and Expression Deprivation of Rights
Under The First and Fourteenth   Amendments and 42 U.S.C. §1983

      72.    Plaintiffs hereby repeat and reallege each and every allegation set

forth in paragraphs numbered "1" through "71", with the same force and effect as

though set forth herein.
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       73.     The above described conduct and actions of the individual defendants,

occurred at a time where defendants were acting under color of law, where

defendants deprived Plaintiff of her rights to free expression due to Defendants

Victor’s personal animus and bias in order to silence Plaintiff's speech in

retaliation against Plaintiff's exercise of her constitutionally protected right to

disclose illegal-wrongful conduct; was done to interfere with, and chill, the

exercise of free speech and association, and was done intentionally, maliciously,

with a deliberate indifference and/or with a reckless disregard for the natural and

probable consequences of their acts, was done without lawful justification or

reason, and was designed to and did cause serious emotional pain and suffering in

violation of Plaintiff s constitutional rights as guaranteed under 42 U.S.C. §1983,

and the First and Fourteenth Amendments to the United States Constitution.

       74.     By reason of the foregoing, Plaintiff suffered injuries-damages and is

entitled to an award in an amount to be determined by a jury sitting in judgment of

her claims and in an amount no less than $75.000.

                                     COUNT II.
                                 Municipal Liability
                             For Constitutional Violations
                             Monell Claim - 42 U.S.C. §1983

       75.     Plaintiff repeats, reiterates and realleges each and every allegation

contained    in  paragraphs  numbered  “1"  through  “74"  with  the  same  force  and  effect  as  

if fully set forth herein.
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       76. The City of New York directly caused the constitutional violations

suffered by Plaintiff, and is liable for the damages suffered by Plaintiff as a result of

the conduct of the defendant ADA and police officers as associated with non-

Municipal defendants.

       77. The joint conduct of the defendant was a direct consequence of policies

and practices of Defendant City of New York.

      78.      At all times relevant to this complaint Defendant City of New York,

acting through the Manhattan   District   Attorney’s   Office   and   the   NYPD, had in

effect policies, practices, and customs that condoned and fostered the

unconstitutional conduct of the individual defendants, and were a direct and

proximate cause of the damages and injuries complained of herein.

       79.     That on June 14, 2013, Plaintiff became the victims of the Defendant

City of New York, acting through its police department, and through the individual

defendants by reason of its policies, practices, customs, and usages in failing to have a

protocol in place to ensure plaintiffs right of free speech in her reporting the wrongful

and illegal conduct as set forth above to outside agencies including the US Food &

Drug Administration, Internal Revenue Services, New York State sanctioning the

retaliation for individuals exercise of her free expression.

       80.     Upon information and belief, Defendant City of New York

implemented a policy, practice, custom and usage of arrest while failing to
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establishing whether a person was engaged in protected First Amendment activity,

and when and whether the complainant was engaged in retaliation for their own

misconduct, where police officers were discouraging from investigating the

misconduct and motive of the a complainant through an investigation of the facts.

         81.    In connection with the Plaintiff’s  claims  of  retaliation  by  Victor  the  

City under its policy-practice custom consciously disregarded whether Plaintiff

was in the lawful possession of data or other information claimed to be stolen and

whether the illegality and unconstitutionality of the non-Municipal   defendants’  

claims was maliciously pursued.

         82.    These policies, practices, customs, and usages were a direct and

proximate cause of the unconstitutional conduct alleged herein.

       83.      The existence these unconstitutional             customs     and policies,

specifically as it relates to issues of free speech.

       84.     The City of New York knew or should have known by the lack of

training that a deliberate indifference to the rights of the Plaintiff would

occur.

       85.     By reason of the foregoing acts of the Defendants it was the policy

and/or custom of the City of New York to inadequately train, supervise and discipline

its ADA’s   and   police officers, including the defendant ADA and officers, thereby
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failing to adequately discourage further constitutional violations on the part of its

employees. The City did not require appropriate in-service training or re-training of

officers who were known to have engaged in police the deliberate indifference of the

need to investigate allegation of a crime not witnessed by them prior to arresting an

individual.

       86.    By reason of the foregoing described policies and customs, police

officers of the City of New York, including the defendant employees believed that

their actions would not be properly monitored by supervisory personnel and that

misconduct would not be investigated or sanctioned, but would be tolerated.

       87.    The wrongful policies, practices, customs and/or usages complained

of herein, demonstrated a deliberate indifference on the part of policymakers of the

City of New York to the constitutional rights of persons within the city, and were

the direct and proximate cause of the violations of Plaintiffs' rights alleged herein.

                                COUNT III.
     False Arrest/Imprisonment Under 42 U.S.C. § 1983/ State Law Claims

       88.    Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1"  through  “87" with the same force and effect

as if fully set forth herein.

      89.      As a  result  of  defendant’s  aforesaid conduct, Plaintiff was subjected

to an illegal, improper and false arrest/imprisonment by defendant Curly and was
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taken into custody and caused to be falsely imprisoned, detained, confined,

incarcerated and prosecuted by the defendants in criminal proceedings, without

any probable cause, privilege or consent.

      90.       Br reason of   the   foregoing,   plaintiff’s   liberty   was   restricted   for  

an extended period of time, she was put in fear for her safety, was physically

and emotionally injured, she was repeatedly strip-searched and humiliated, and

she suffered substantial economic losses and permanent damage to his

reputation.

                                COUNT IV.
        Malicious Prosecution Under 42 U.S.C. § 1983/ State Law Claims

      91.      Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1"  through  “90" with the same force and effect

as if fully set forth herein.

      92.      Defendant Curly lacked probable cause to initiate criminal

proceedings against Plaintiff.

      93.      Defendants Intellicell’s  Board  by  Victor  acted   misrepresented and

falsified evidence before prosecutors in the New York County District

Attorney’s  office.

      94.      Defendant Intellicell’s   Board   by   Victor   acted did not make a

complete and full statement of material facts to prosecutors in the New York

County  District  Attorney’s  office.
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      95.     Defendant Intellicell’s  Board  by  Victor  acted  withheld exculpatory

evidence  from  prosecutors  in  the  New  York  County  District  Attorney’s  office.

      96.     Defendants Intellicell’s  Board  by  Victor acted was directly and actively

involved in the initiation of criminal proceedings against plaintiff Sarah Young.

      97.     Defendant Intellicell’s  Board  by  Victor  acted   acted with malice in

initiating criminal proceedings against Plaintiff.

      98.     Defendant Allison Altmann was directly and actively involved in

the initiation of criminal proceedings against plaintiff Sarah R. Young.

      99.     Defendant Altmann lacked probable cause to initiate criminal

proceedings against Plaintiff.

      100.    Defendant Intellicell’s   Board   by   Victor   acted was directly and

actively involved in the continuation of criminal proceedings against Plaintiff.

      101.    Defendant Allison Altmanm was directly and actively involved in

the continuation of criminal proceedings against Plaintiff.

      102.    Defendant Altmann lacked probable cause to continue criminal

proceedings against Plaintiff.

      103.    Defendant Intellicell’s   Board   by   Victor   acted   with malice in

continuing criminal proceedings against plaintiff.

      104.    Defendant Intellicell’s   Board   by   Victor   acted misrepresented and

falsified evidence throughout all phases of the criminal proceeding.
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      105.     Notwithstanding the perjurious and fraudulent conduct of

defendant Intellicell’s  Board  by  Victor the criminal proceedings were terminated

in  plaintiff’s  favor  on   October 7, 2013, when all charges against Plaintiff were

dismissed.

      106.     As a result of the foregoing, Plaintiff was subjected to a baseless

prosecution, her liberty was restricted for an extended period of time, she was put in

fear for her safety, she was physically and emotionally injured, she was repeatedly

strip-searched and humiliated, and she suffered substantial economic losses and

permanent damage to her reputation.

                                  COUNT V.
               Abuse Of Process-42 U.S.C. § 1983/State Law Claims

      107.     Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1"   through   “106" with the same force and

effect as if fully set forth herein.

      108.     Defendants Curly, Altmann, IntelliCell’s   Board   by Victor acted

caused to be issued legal process against Plaintiff.

      109.     Defendant IntelliCell’s  Board  by  Victor  acted and its Board caused to

be issued legal process against Plaintiff to obtain a collateral objective outside the

legitimate ends of the legal process.

      110.     Defendant IntelliCell’s  Board  by  Victor acted with intent to do harm

to Plaintiff, without excuse or justification.
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      111.     As a result of the foregoing, Plaintiff’s   liberty was restricted for an

extended period of time, she was put in fear for his safety, she was physically and

emotionally injured, she was repeatedly strip-searched and humiliated, and she

suffered substantial economic losses and permanent damage to her reputation.

                                    COUNT VI.
                    Intentional Infliction of Emotional Distress
                                Common Law Claim

       112. Plaintiff repeats, reiterates and realleges each and every allegation

contained    in  paragraphs  numbered  “1"  through  “111"  with  the  same  force  and  

effect as if fully set forth herein.

       113. During the Relevant Period, Victor and the Board knew and were

aware that the information possessed by Plaintiff and her disclosure of said

information to the authorities would expose the data fraud and the lack of viability

of the SCRP to the public, investors and force the authorities to take action.

       114. During the Relevant Period, Victor, Rhodes and Mazur so as to injure

Plaintiff and prevent her use of said data and the evidence of fraud therein engaged

in by Victor, Victor filed, or caused to be filed a false and misleading police report

with the Assistant District Attorney Allison Altman of the Manhattan District

Attorneys’  Office.  

       115. That upon information and belief, and at all times hereinafter

mentioned, during the Relevant Period, Victor and the Board were fully aware
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of the true facts relating to Sarah R. Young going to the authorities concerning

the fraud and illegal activities of Victor; knew and was otherwise aware of her

PTSD injury wherein Victor with the Board knowledge and consent did cause the

intentional, malicious, willful and illegal false arrest and confinement of Sarah R.

Young so as to force her to turnover material which Victor and the Board knew

was damaging and further knew was evidence of data fraud concerning the

viability of SCRP where said information was the lawful Property or otherwise

lawfully in the  Plaintiff’s  possession.

       116. That the conduct of the Defendants was extreme and otherwise

outrageous so outrageous in character, and so extreme in degree, as to go beyond

all possible bounds of decency, and to be regarded as atrocious, and utterly

intolerable in a civilized society committed with malice and intent to cause severe

emotional distress where the there was by reason of the conduct a direct link-

connection between the conduct and the injury caused with Plaintiff suffering

severe emotional distress.

                                    COUNT VII.
                     Negligent Infliction of Emotional Distress
                               Common Law Claim

       117. Plaintiff repeats, reiterates and realleges each and every allegation

contained    in  paragraphs  numbered  “1"  through  “118" with the same force and

effect as if fully set forth herein.
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      118.    The   Conduct   of   IntelliCell’s   Board   by   Victor   described   above,  

cause severe emotional distress to Plaintiff.

      119.    The  conduct  of  Defendants  Curly,  Altmann  and  by  IntelliCell’s  

Board by Victor was the direct and proximate cause of injury and damage to

Plaintiff and violated her statutory and common law rights as guaranteed by

the laws and Constitution of the State of New York.

      120.    By reason of the foregoing, Plaintiff was deprived of her liberty

in her right to freely move about and was subjected to serious physical and

emotional pain and suffering, and was otherwise damaged and injured.

      121. Defendant’s conduct in causing the arrest, arresting and the

continued prosecution of Plaintiff, was careless and negligent as to the

emotional health of Plaintiff, and caused severe emotional distress to

Plaintiff.

      122. The acts and conduct of Defendant’s was the direct and

proximate cause of injury and damage to Plaintiff and violated her statutory

and common law rights as guaranteed by the laws and Constitution of the

State of New York.

       123. By reason of the foregoing, Plaintiff was deprived of her liberty,

was subjected to serious physical and emotional pain and suffering, and was

otherwise damaged and injured.
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                                  COUNT VIII.
                                   Negligence
                                Common Law Claim


      124. Plaintiff repeats, reiterates and realleges each and every allegation

Plaintiff repeats, reiterates and realleges each and every allegation contained in

paragraphs numbered “1"  through  “123" with the same force and effect as if fully

set forth herein.

      125. Defendants The City of New York, NYPD Police Commissioner

Raymond Kelly in his official capacity, and individually, NYPD Detective Ryan

Curley in his official capacity, and individually, Detective John Doe, in his official

capacity, and individually, New York County District Attorney Cyrus Vance, Jr.,

in his official capacity, and individually, New York County Assistant District

Attorney Allison Altmann, while acting as agent and employee for Defendant City

of New York, owed a duty to Plaintiff to perform their duties in reasonable

manner and were required to conduct an investigation into the facts as provided by

Plaintiff as to the retaliatory nature of Defendant Victor and the Board.

      126. Defendants did not have reasonable or probable cause and had no

lawful authority to arrest or cause the arrest of Plaintiff wherein for their

negligence Defendants are individually liable.

      127. By reason of the foregoing Defendants’ negligent use of illegal

process was the proximate cause to Plaintiff sustaining physical-emotional pain

and suffering, and was otherwise damaged and injured.
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                                  COUNT IX.
                  Respondeat Superior Liability-City of New York
                              Common Law Claim

      128. Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1"  through  “127" with the same force and

effect as if fully set forth herein.

     129.    The conduct of Defendants Kelly, Cyrus Vance, Jr Curley, Doe

and Altmann alleged herein occurred while he was on duty and during the

course and scope of their duties and functions as a New York City employee-

appointees, and while they was acting as an agent, officer, servant and

employee of Defendant City of New York.

     130.    By reason of the foregoing, Defendant City of New York is liable

to Plaintiff pursuant to the state common law doctrine of respondeat superior.

                                  COUNT X.
                 Negligent Supervision, Retention and Training
                             Common Law Claim
      131. Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1"  through  “130" with the same force and

effect as if fully set forth herein.

      132.    Defendant t h e City of New York negligently trained, retained,

and supervised Defendants Curley, Doe and Altmann.

      133.    The acts/conduct of Defendant Curley, Doe and Altmann were the direct

and proximate cause of injury and damage to Plaintiff and violated her statutory and

common law rights as guaranteed by the laws and Constitution of the State of New York.
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       134.      By reason of the foregoing, Plaintiff was deprived of her liberty,

was subjected to great physical and emotional pain and suffering, and was

otherwise damaged and injured.

        135. That upon information and belief, and at all times hereinafter

mentioned, the City by Detective Curley and the Manhattan District

Attorney’s  Office  ADA  Altman  was  negligent  and/or  grossly  negligent  in  

their conduct or otherwise engaged in a course of unsupervised conduct as

complained of hereafter.

        136. There exists a lack of training in furtherance of the policy, practice

and/or custom of using a Police Officer to illegally implement official policy,

practice, custom or usage of the City in giving preferential treatment to some

complaints and under color of State law, that is, in derogation of the Constitution,

Statutes, laws, ordinances, rules, regulations, of the United States, City and State of

New York to effect the illegal conduct complained of herein the preferential and

illegal treatment of complainants causing and resulting in the emotional injury

and loss of her liberty and property.

        137. That   at   all   times   hereinafter   mentioned,   the   City’s   deliberate  

indifference-deference, and failure to train its employees-agents amounts to a

policy which was instituted with the knowledge of the City, wherein, the City

was/is enforcing the aforesaid policy-practice, procedure and custom on behalf of

some complainants in the preferential treatment of them and in violation of the

Plaintiff’s  rights.  
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      138. That at all times hereinafter mentioned, in the alternative the

deliberate indifference-deference was the policy-practice, procedure and custom of

the City in failing to provide protocols or rules prohibiting such conduct.

      139. That at all times hereinafter mentioned, in the alternative the

deliberate indifference-deference was the policy-practice, procedure and custom of

the City in failing to train or supervise their agents, servants and employees not to

engage in such conduct.
                             COUNT XI.
New York Labor Law Art.6 - §§190 - 199-A Wage Payment and Collection

      140. Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1"  through  “139" with the same force and effect

as if fully set forth herein.

      141. Pursuant to the New York Wage Prevention Theft Act (“NYWPTA”),

Defendants must pay their employees all wages due at regular pay periods. Wages"

means the earnings of an employee for labor or services rendered, regardless of whether

the amount of earnings is determined on a time, piece, commission or other basis.

      142. Pursuant to NYWPTA Defendant must pay their employees all wages

due for work that the employee performed before the conclusion of employment on, or

before, the day on which the employee would have been paid had their employment

not been terminated.

      143. Plaintiff has not been compensated her full measure of wages for all hours

worked and was not compensated at the proper rate for hours worked in single workweek.
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      144. By failing to timely pay Plaintiff her wages when due, Defendants

violated the New York Labor Law Art.6 - §§190 - 199-A and the intent of NYWPTA.

      145. Defendants did not have a lawful right to withhold Plaintiffs wages.

      146. By reason of the foregoing a direct and proximate result of

Defendants’ violations of New York Labor Law Art.6 - §§190 - 199-A and the

intent of NYWPTA, Plaintiff suffered significant damages.

      147. For the reason that more than the time allowed under the law to pay

wages has lapsed from the date on which Defendants were required to have paid the

wages, Defendants are liable to Plaintiff for their unpaid wages, plus an additional

amount up to four (4) times the unpaid wages, reasonable attorneys’ fees,

interests and costs.
                                       COUNT XII.
                Fair Labor Standards Act of 1938 29 U.S.C. § 201, et seq.


      148. Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1"  through  “147" with the same force and

effect as if fully set forth herein.

       149. Defendants willfully and/or intentionally failed and/or refused to pay

Plaintiff the regular wage which Plaintiff was due and owed pursuant to the Fair

Labor Standards Act  (“FLSA”).

       150. Defendants’ actions were taken with willful disregard for the rights of

Plaintiff under the FLSA.
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         151. Defendants’ failure to accurately pay taxes track and record the

proper salary and wages for the hours worked by Plaintiff violated FLSA.

         152. As a result of Defendants’   unlawful conduct, Plaintiff suffered a loss of

wages.

         153. For violating the FLSA, Plaintiff is entitled to recover from

Defendants—in addition to the money judgment awarded for unpaid regular,

compensation—an additional equal amount as liquidated damages and interest on

the monies due and owing. See 29 U.S.C. § 216(b).

         154. The FLSA further provides that Plaintiff shall be awarded reasonable

attorneys’ fees and the costs of this action. See id.

                                    COUNT XIII.
                                  Breach of Contract
      155. Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1"  through  “154" with the same force and

effect as if fully set forth herein.

      156.     Defendants promised and represented to Plaintiff that she would be

paid an annual salary of $110,000.00

      157.     Relying upon Defendants’  promise, Plaintiff relocated to New York to

assume her employment with Defendant IntelliCell.

      158.     IntelliCell owes Plaintiff wages / compensation in an in excess of

$30,000.00.

      159.     Defendants refused to make payment to Plaintiff.
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      WHEREFORE, Plaintiff demands the following relief jointly and severally

against all of the Defendants:

      a.      Compensatory damages in the amount to be determined by a jury;

      b.      Punitive damages in an amount to be determined by a jury;

      c.      Costs and interest and attorney's fees;

      d.     Such other and further relief as this Court may deem just and proper.

Dated: June 13, 2014
       Goshen, New York
                     ___________________________________
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                            & Associates
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